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11   UNITED STATES OF AMERICA
12                            UNITED STATES DISTRICT COURT

13                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. CR 14-338-SJO

15              Plaintiff,                    INFORMATION RE: PRIOR CONVICTION
                                              FOR A FELONY DRUG OFFENSE FOR
16                    v.                      DEFENDANT JERMAINE HOUSTON

17   TYRINE MARTINEZ ET AL.
                      I          I            [21 u.s.c. § 851: Proceedings to
      #15) JERMAINE HOUSTON,                  Establish Prior Convictions]
18
                Defendants.
19

20         The United States Attorney charges:

21         Defendant JERMAINE. HOUSTON, also known as "J-Bone"         ("HOUSTON"),

22   prior to committing the offenses alleged in Counts Twelve, Sixty-

23   Nine, and Seventy-One of the Indictment in United States v. Tyrine

24   Martinez, et al., CR No. 14-338-SJO, had been finally convicted of a

25   felony drug offense as that term is defined and used in Title 21,

26   United States Code, Sections 802(44), 841, and 851, namely, on or

27   about November 15, 2000, in the United States District Court for the

28   District of Minnesota, case number CR 99-51-JMR, defendant HOUSTON
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 1   was convicted of Conspiracy to Distribute Cocaine and Cocaine Base,

 2   in violation of Title 21, United States Code, Section 846.

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 8
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 9                                       Assistant United States Attorney
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